Case 5:17-cv-05089-TLB Document
          JILL DILLARD vs CITY OF139-13 Filed 10/06/21 Page 1 of 67 PageID Confidential
                                  SPRINGDALE                               #: 1209
          TULL, KAELEIGH on 09/29/2021

     ·1· · · · · · IN THE UNITED STATES DISTRICT COURT
     · · · · · · · · ·WESTERN DISTRICT OF ARKANSAS
     ·2· · · · · · · · · ·FAYETTEVILLE DIVISION

     ·3·   JILL DILLARD, JESSA SEEWALD,· · · ·)
     · ·   JINGER VUOLO, and JOY DUGGAR,· · · )
     ·4·   · · · · · · ·PLAINTIFFS,· · · · · ·)
     · ·   VS.· · · · · · · · · · · · · · · · )
     ·5·   CITY OF SPRINGDALE, ARKANSAS;· · · )
     · ·   WASHINGTON COUNTY, ARKANSAS;· · · ·) CASE NO.
     ·6·   KATHY O'KELLEY, in her Individual· ) 17-CV-05089-TLB
     · ·   and Official Capacities; ERNEST· · )
     ·7·   CATE, in his Individual and· · · · )
     · ·   Official Capacities; RICK HOYT,· · )
     ·8·   in his Individual and Official· · ·)
     · ·   Capacities; STEVE ZEGA, in his
     ·9·   Official Capacity;
     · ·   Does 1-10, Inclusive,
     10·   · · · · · · ·DEFENDANTS.

     11· · · · · · -----------------------------------

     12· · · · · · ·ORAL AND VIDEOTAPED DEPOSITION OF

     13· · · · · · · · · · · ·KAELEIGH TULL

     14· · · · · · · · · · September 29, 2021

     15· · · · · · -----------------------------------

     16· · · · · · · · ·***** CONFIDENTIAL *****

     17· · ·ORAL AND VIDEOTAPED DEPOSITION OF KAELEIGH TULL,

     18· produced as a witness at the instance of the

     19· DEFENDANTS, and duly sworn, was taken in the

     20· above-styled and numbered cause on the 29th day of

     21· September, 2021, from 3:04 p.m. to 5:01 p.m., before

     22· Tammie L. Foreman, CCR in and for the State of

     23· Arkansas, RPR, CRR, reported by machine shorthand, via

     24· audio-video conference, pursuant to the Federal Rules

     25· of Civil Procedure.
                                                                    Exhibit 8
Case 5:17-cv-05089-TLB Document
          JILL DILLARD vs CITY OF139-13 Filed 10/06/21 Page 2 of 67 PageID Confidential
                                  SPRINGDALE                               #: 1210
          TULL, KAELEIGH on 09/29/2021                                               2

     ·1· · · · · · · · · · · · APPEARANCES

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     22
     · ·   ALSO PRESENT:
     23·   · ·Garrett Smelley, Certified Legal Video Specialist

     24· · ·Kathy O'Kelley

     25· · ·Robert Tull
Case 5:17-cv-05089-TLB Document
          JILL DILLARD vs CITY OF139-13 Filed 10/06/21 Page 3 of 67 PageID Confidential
                                  SPRINGDALE                               #: 1211
          TULL, KAELEIGH on 09/29/2021                                               3

     ·1· · · · · · · · · · · · ·I N D E X

     ·2· · · · · · · · · · September 29, 2021

     ·3· · · · · · · · · · · · · · · · · · · · · · · · ·PAGE:

     ·4· Stipulations· · · · · · · · · · · · · · · · · · 1

     ·5· Appearances· · · · · · · · · · · · · · · · · · ·2

     ·6· Reporter Certification· · · · · · · · · · · · · 65

     ·7· Signature of Witness· · · · · · · · · · · · · · 66

     ·8· Errata Sheet· · · · · · · · · · · · · · · · · · 67

     ·9
     · · WITNESS: KAELEIGH TULL
     10
     · · · ·Examination By Mr. Kieklak· · · · · · · · · ·5
     11
     · · · ·Examination By Mr. Owens· · · · · · · · · · ·58
     12

     13
     · · · · · · · · · · · · · ·EXHIBITS
     14
     · · NO.· · · · · ·DESCRIPTION· · · · · · · · · · · MARKED
     15
     · · · · · · · · · (No Exhibits Marked)
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Case 5:17-cv-05089-TLB Document
          JILL DILLARD vs CITY OF139-13 Filed 10/06/21 Page 4 of 67 PageID Confidential
                                  SPRINGDALE                               #: 1212
          TULL, KAELEIGH on 09/29/2021                                               4

    ·1· · · ·THE VIDEOGRAPHER:· We are now on the
    ·2· ·record.· My name is Garrett Smelley, and I
    ·3· ·will be your videographer for today.
    ·4· ·Today's date is September 29th, 2021, and
    ·5· ·the time is 3:04.
    ·6· · · ·This deposition is taking place via Zoom
    ·7· ·in the matter of Jill Dillard, et al. versus
    ·8· ·the City of Springdale, et al.
    ·9· · · ·The deponent is Kaeleigh Tull.· Our
    10· ·court reporter is Tammie Foreman.
    11· · · ·If counsel will introduce themselves,
    12· ·the witness will then be sworn.
    13· · · ·MR. KIEKLAK:· Ms. Tull, again, my name
    14· ·is Tom Kieklak.· I represent the Springdale
    15· ·defendants.
    16· · · ·MR. OWENS:· Jason Owens.· I represent
    17· ·the Washington County defendants.
    18· · · ·MR. BLEDSOE:· Steven Bledsoe.                  I
    19· ·represent the plaintiffs.· And Shawn Daniels
    20· ·is also on.· He represents the plaintiffs
    21· ·with me as well.
    22· · · ·THE COURT REPORTER:· Would you raise
    23· ·your right hand, please, to be sworn?
    24· · · ·Do you swear or affirm that the
    25· ·testimony you are about to give shall be the




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Case 5:17-cv-05089-TLB Document
          JILL DILLARD vs CITY OF139-13 Filed 10/06/21 Page 5 of 67 PageID Confidential
                                  SPRINGDALE                               #: 1213
          TULL, KAELEIGH on 09/29/2021                                               5

     ·1· · · · · · truth, the whole truth, and nothing but the
     ·2· · · · · · truth, so help you God.
     ·3· · · · · · · · THE WITNESS:· I do.
     ·4· · · · · · · · THE COURT REPORTER:· Thank you.
     ·5· · · · · · · · · · · KAELEIGH TULL,
     ·6· having been first duly sworn, testified as follows:
     ·7· · · · · · · · · · · · EXAMINATION
     ·8· BY MR. KIEKLAK:
     ·9· Q.· · Ms. Tull, again, my name is Tom Kieklak.· Thank
     10· you very much for being here.· But to be clear, you
     11· are appearing under subpoena.· I'm not sure that you
     12· would have appeared anyway.· You might have.· But I
     13· want to make sure that I confirm with you that you are
     14· appearing because you were subpoenaed to do so; is
     15· that correct?
     16· A.· · That's correct.
     17· Q.· · Okay.· So to begin with, may I ask you to state
     18· your full name, please?
     19· A.· · My name is Kaeleigh Holt Tull.
     20· Q.· · And Kaeleigh, were you in the Holt family prior
     21· to being -- I mean, you still are.· But Holt because
     22· you are a daughter of Jim Holt; is that correct?
     23· A.· · That's correct.
     24· Q.· · Okay.· So Kaeleigh, because it is conceivable
     25· that the transcript of this deposition or even the




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Case 5:17-cv-05089-TLB Document
          JILL DILLARD vs CITY OF139-13 Filed 10/06/21 Page 6 of 67 PageID Confidential
                                  SPRINGDALE                               #: 1214
          TULL, KAELEIGH on 09/29/2021                                               6

     ·1· video could be used in a trial, you might see us pause
     ·2· after somebody makes an objection today.· And an
     ·3· objection would typically be the words "object to
     ·4· form."· And what we'll do is we'll pause for a moment,
     ·5· but someone might want to make a more exacting
     ·6· objection.· And we'll pause.
     ·7· · · · · · · ·And that pause is just in the event that
     ·8· we are in a trial day and a judge wants it make a
     ·9· ruling, it's much more convenient to do that instead
     10· of having to worry about stopping the video real
     11· quickly, or a recording.· So that may happen.· And if
     12· that happens, that's the only reason.
     13· A.· · Okay.
     14· Q.· · I do understand, Ms. Tull, that you have an
     15· attorney.· Forgive me.· I've forgotten his name.· Tell
     16· me.
     17· A.· · It's Josh Christianson.
     18· Q.· · Josh.· And -- and you put us in touch with Josh.
     19· And through Josh, we were able to find this more
     20· convenient time for you to have a deposition; is that
     21· correct?
     22· A.· · That's correct.
     23· Q.· · Okay.· And I haven't had a chance to speak with
     24· you since you put us in touch with Josh.· But it is my
     25· understanding that he is not going to appear on the




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Case 5:17-cv-05089-TLB Document
          JILL DILLARD vs CITY OF139-13 Filed 10/06/21 Page 7 of 67 PageID Confidential
                                  SPRINGDALE                               #: 1215
          TULL, KAELEIGH on 09/29/2021                                               7

     ·1· deposition today, and that's something I guess we'll
     ·2· have to discuss.· But that's what he's informed us.
     ·3· A.· · That's correct.· And I want to clarify that he
     ·4· has communicated to me that this deposition is under a
     ·5· protection act, correct?
     ·6· Q.· · That's a very, very good question.· And I will
     ·7· confirm that.· Yes, there is a protective order in
     ·8· this case.· In that protective order -- I think we
     ·9· provided a copy of it to your attorney.· And it does
     10· very clearly state that the attorneys who are on here
     11· right now, as well as the court reporter, had to sign
     12· off on that, and the videographer are not allowed to
     13· discuss these matters outside of this litigation.· And
     14· that is in place.
     15· · · · · · · · MR. BLEDSOE:· Just to be clear, just to
     16· · · · · · be clear, Tom, why don't we put -- since the
     17· · · · · · issue has now been raised by the witness and
     18· · · · · · she has an understanding, let's put this
     19· · · · · · entire deposition under the protective
     20· · · · · · order, not the attorneys' eyes only level
     21· · · · · · but just the confidential level for now, and
     22· · · · · · then we can make further designations or
     23· · · · · · dedesignations once we get the transcript.
     24· · · · · · Okay?
     25· · · · · · · · MR. KIEKLAK:· I agree, Steve.· Yeah.                        I




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Case 5:17-cv-05089-TLB Document
          JILL DILLARD vs CITY OF139-13 Filed 10/06/21 Page 8 of 67 PageID Confidential
                                  SPRINGDALE                               #: 1216
          TULL, KAELEIGH on 09/29/2021                                               8

     ·1· · · · · · think this entire depo and the exhibits
     ·2· · · · · · would be under the protective order.
     ·3· · · · · · · · MR. BLEDSOE:· Okay.
     ·4· · · · · · · · MR. KIEKLAK:· And that was important to
     ·5· · · · · · me as well.
     ·6· Q.· · So I saw that you are -- we've mentioned that
     ·7· your husband is attending.· We also moved it so that
     ·8· he could attend.· And that's great.
     ·9· · · · · · · ·And what I wanted to tell you is, in the
     10· deposition, I will be asking you questions and the
     11· other attorneys may as well.· And of course, we'll
     12· want your answers.
     13· A.· · Correct.
     14· Q.· · And so you wouldn't want to consult with your
     15· husband or anyone else prior to answering.· And, of
     16· course, he wouldn't speak during the deposition
     17· unless, of course, there's an emergency or something
     18· like that with the kids.· I just wanted to be clear on
     19· that.
     20· · · · · · · ·So having done all that, I wanted to ask
     21· you, Ms. Tull, have you done anything else to prepare
     22· for the deposition today?
     23· A.· · What do you mean by prepare?
     24· Q.· · Sure.· Have you read anything to refresh your
     25· memory about anything or have you spoken to anyone




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Case 5:17-cv-05089-TLB Document
          JILL DILLARD vs CITY OF139-13 Filed 10/06/21 Page 9 of 67 PageID Confidential
                                  SPRINGDALE                               #: 1217
          TULL, KAELEIGH on 09/29/2021                                               9

     ·1· about anything to help you remember the past better
     ·2· before your deposition today?
     ·3· A.· · I did go through some of my old journals because
     ·4· I was journaling at the time.· But not very much.                       I
     ·5· just barely glanced at it for a date reference.
     ·6· Q.· · And it's funny you said "at the time."· And so I
     ·7· was going to say, so when you say "at the time," I
     ·8· think do you mean at the time that you learned about
     ·9· the incident in the Duggar family, around that time?
     10· A.· · Yes.
     11· Q.· · Okay.· Besides reviewing your journals, have you
     12· had a chance to speak with anybody about the incident
     13· from that time?
     14· A.· · I spoke to my parents.· Mostly because they had
     15· my journals, and I needed to get that from them so
     16· that it was in my possession before this call.
     17· Q.· · Having had five kids myself, let me just tell
     18· you, we parents want you guys to take your stuff back.
     19· Okay.· Whenever you're ready, journals and everything
     20· else.· Take all your stuff back, especially trophies.
     21· I want to get rid of those.· Sorry, Ms. Tull.
     22· · · · · · · ·So you got a chance to get the journals
     23· from them.· Did y'all have the occasion to kind of
     24· reminisce about that time, what was going on back in
     25· those days?




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Case 5:17-cv-05089-TLB
          JILL DILLARD Document 139-13
                       vs CITY OF       Filed 10/06/21 Page 10 of 67 PageIDConfidential
                                  SPRINGDALE                               #: 1218
          TULL, KAELEIGH on 09/29/2021                                              10

     ·1· A.· · Just a little.
     ·2· Q.· · Anybody else besides your folks that you've had
     ·3· a chance to talk to about anything prior to your
     ·4· deposition?
     ·5· A.· · I'm trying to think.· I know my husband and I
     ·6· talked a little bit, mostly just trying to refresh my
     ·7· memory, prepare for questions, and emotionally prepare
     ·8· for things that I may not be aware that are still
     ·9· painful.
     10· · · · · · · ·But we did -- we did mostly just say we
     11· probably shouldn't speak about this with anybody but
     12· our attorney just to keep things safe.· So we let
     13· people know -- let's see.· We let two of our friends
     14· know, who are married, to pray for us that this
     15· deposition was coming up.· But I don't think we
     16· actually discussed any details about that time with
     17· them.· But we did mention that we had it coming and
     18· that they would pray for us.
     19· Q.· · May I assume that these married friends were not
     20· people who are involved in the incident but just
     21· people you are in touch with now?
     22· A.· · That is correct.
     23· Q.· · And this, of course, involves the Duggar family.
     24· Let's just say in the last month, even prior to
     25· getting the subpoena or us talking, did you have the




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Case 5:17-cv-05089-TLB
          JILL DILLARD Document 139-13
                       vs CITY OF       Filed 10/06/21 Page 11 of 67 PageIDConfidential
                                  SPRINGDALE                               #: 1219
          TULL, KAELEIGH on 09/29/2021                                              11

     ·1· occasion to speak to anyone in the Duggar family?· And
     ·2· I mean the Duggars and the plaintiffs who were
     ·3· formerly named Duggar, Jill, Jessa, Joy, and Jinger?
     ·4· A.· · Do you mean when I got the subpoena?
     ·5· Q.· · No.· Just in the last month or so, like
     ·6· September or August.
     ·7· A.· · It has been recently, but I don't remember if
     ·8· it's been in September or not.
     ·9· Q.· · Which of the sisters are you closer to?
     10· A.· · I'm still in contact with Jessa and Jill.
     11· Q.· · Okay.· And have you had the occasion to talk to
     12· Jessa or Jill about this deposition process?· Because
     13· I think they had theirs taken.
     14· A.· · No.· We thought it best not to speak with them
     15· about it.
     16· Q.· · So I'm going to try to move as quickly as I can
     17· because I know you are busy there at home.
     18· · · · · · · · Going back to when you were younger, how
     19· did you get to know the Duggar family?
     20· A.· · Our dads, Jim Bob and my father, Jim Holt, were
     21· best friends growing up.· They have known each other
     22· since they were 12.· And I grew up with them myself.
     23· Q.· · Did you have the occasion to visit their home
     24· and, vice versa, did they visit you-all's home?
     25· A.· · Correct.· They did and vice versa.




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Case 5:17-cv-05089-TLB
          JILL DILLARD Document 139-13
                       vs CITY OF       Filed 10/06/21 Page 12 of 67 PageIDConfidential
                                  SPRINGDALE                               #: 1220
          TULL, KAELEIGH on 09/29/2021                                              12

     ·1· Q.· · Okay.· So this would be since you were a young
     ·2· child; is that correct?
     ·3· A.· · That's correct.
     ·4· Q.· · Tell me, would you please tell me, there are --
     ·5· you have seven brothers and sisters?
     ·6· A.· · I have ten brothers and sisters.
     ·7· Q.· · Ten brothers and sisters.· Forgive me.· And will
     ·8· you put your -- where are you in the birth order?
     ·9· A.· · I'm the oldest.· I'm firstborn.
     10· Q.· · Okay.· And I believe is the oldest of the
     11· Duggars' children Jana?
     12· A.· · The older is Joshua.
     13· Q.· · Joshua?· Oh, Josh.· Forgive me.· And then is it
     14· Jana and her twin after that?
     15· A.· · That's correct.
     16· Q.· · Okay.· And so would you compare ages?· Are you
     17· younger than Jana or older?
     18· A.· · I'm older than Jana.
     19· Q.· · Okay.· So you're closer to Josh's age?
     20· A.· · I am.
     21· Q.· · Okay.· All right.· Is it -- is it -- would it be
     22· accurate to assume that of your brothers and sisters
     23· and the Duggars' brothers and sisters, several of the
     24· kids are sort of the same age or around the same age?
     25· A.· · Yes, that is safe to assume.




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Case 5:17-cv-05089-TLB
          JILL DILLARD Document 139-13
                       vs CITY OF       Filed 10/06/21 Page 13 of 67 PageIDConfidential
                                  SPRINGDALE                               #: 1221
          TULL, KAELEIGH on 09/29/2021                                              13

     ·1· Q.· · Okay.· So as you were growing up, did your
     ·2· family attend church with the Duggar family?
     ·3· A.· · Church, as in we got together to worship the
     ·4· Lord, yes.· We didn't actually go to a building that
     ·5· had a pastor that was an official denomination or
     ·6· congregation that was under a pastor.· We did not go
     ·7· to church with them in that context.
     ·8· · · · · · · ·But we did call it church, what we did,
     ·9· which was go to their home or them to our home or
     10· other families that we knew and would talk about the
     11· Lord and pray and sing and attempt to have church.
     12· Q.· · Currently, when you and your husband and your
     13· family attend church, do you attend church in a
     14· more -- like, in a building with a pastor and an
     15· organized congregation?
     16· A.· · Yes, sir.
     17· Q.· · And back then, when you were having those --
     18· would it be more accurate to call them services or
     19· fellowship?
     20· A.· · Gatherings.
     21· Q.· · Gatherings.· Okay.· Were you -- was your family,
     22· the Holt family, also going to a more conventional
     23· church, a church with a pastor and a congregation, or
     24· is that the worship that y'all had?
     25· A.· · We were not attending another church at that




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Case 5:17-cv-05089-TLB
          JILL DILLARD Document 139-13
                       vs CITY OF       Filed 10/06/21 Page 14 of 67 PageIDConfidential
                                  SPRINGDALE                               #: 1222
          TULL, KAELEIGH on 09/29/2021                                              14

     ·1· time.
     ·2· Q.· · Okay.· All right.· About -- so you mentioned
     ·3· that you would go to their house.· I say the Holts
     ·4· would go to the Duggars' house.· Sometimes the Duggars
     ·5· would come to the Holts' home for those gatherings.
     ·6· And you mentioned some other families.
     ·7· · · · · · · ·We've talked to, as I said, the
     ·8· plaintiffs a lot about some of those families, and I
     ·9· am going to try to remember some of their names, and
     10· you tell me if you recall that, too.· Do you recall
     11· the Bateses going to services, gatherings with y'all?
     12· No?· How about?
     13· A.· · Not at the time that I was there.
     14· Q.· · Okay.· So that was after you were there?
     15· A.· · We -- we knew the Bates, but we did not attend
     16· the same church with them because they lived in a
     17· different state.
     18· Q.· · This would be a faster way to do this.· Why
     19· don't you tell me who they were instead of me trying
     20· to tell you who they were?
     21· A.· · The people that we went to church with?
     22· Q.· · Yes, ma'am.
     23· A.· · I feel like that's hard to say because there
     24· were -- there were people that came in and out, that
     25· would come and then stop coming over the course of the




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Case 5:17-cv-05089-TLB
          JILL DILLARD Document 139-13
                       vs CITY OF       Filed 10/06/21 Page 15 of 67 PageIDConfidential
                                  SPRINGDALE                               #: 1223
          TULL, KAELEIGH on 09/29/2021                                              15

     ·1· years that we did gather.· But I can give you some of
     ·2· the names that are on the top of my head.
     ·3· Q.· · Thank you.
     ·4· A.· · The Butcher family, the Baker family, the
     ·5· Nichols family, the Millsap family, the Andregg.
     ·6· Q.· · Andregg?· Is that E-n-d-r-a-g?
     ·7· A.· · It is A-n-d-r-e-g-g.
     ·8· Q.· · Thank you.
     ·9· A.· · The Query family.· I have not thought about this
     10· in a while.· The Fedofski family came for a very short
     11· time.· The McPherson family.
     12· Q.· · The one before the McPhersons, Ms. Holt, would
     13· you mention that one again?· Was it Fedofski?
     14· A.· · The Fedofskis, yes.
     15· Q.· · All right.· Thank you.· If you think of another
     16· one while we're talking, just bring it up and --
     17· A.· · Go back to it?
     18· Q.· · Yeah.· That's okay.
     19· A.· · Okay.
     20· Q.· · And so when these families and your family and
     21· the Duggars, when y'all would gather, was it just
     22· parents and kids or were there also grandparents,
     23· aunts and uncles, that would attend as well?
     24· A.· · I believe only Jim Bob's parents came.
     25· Q.· · Okay.




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Case 5:17-cv-05089-TLB
          JILL DILLARD Document 139-13
                       vs CITY OF       Filed 10/06/21 Page 16 of 67 PageIDConfidential
                                  SPRINGDALE                               #: 1224
          TULL, KAELEIGH on 09/29/2021                                              16

     ·1· A.· · I think very occasionally, a grandparent was in
     ·2· town maybe would come.· But it was definitely not a
     ·3· regular event.· Mary would come frequently, and the
     ·4· McPhersons is my aunt.
     ·5· Q.· · Okay.
     ·6· A.· · Shawna and Mike are my -- are my aunt and uncle.
     ·7· But as far as I can remember, I think that's the only
     ·8· relatives in that category that came.
     ·9· Q.· · And I think I understood that occasionally the
     10· kids would -- and maybe even, like, adults as well,
     11· would bring friends to the gathering on Sundays as
     12· well?
     13· A.· · Yeah.· Very occasionally.
     14· Q.· · So honing in on a time that we can mark, I'd
     15· like to talk about the time that you learned, if you
     16· did learn, that there had been an incident in the
     17· Duggar family where Josh, the oldest, had molested his
     18· sisters and possibly others.· Do you recall becoming
     19· aware of that?
     20· A.· · Yes.
     21· · · · · · · · MR. BLEDSOE:· I'll object to the form.
     22· Q.· · Go ahead and tell me.· I did not hear your
     23· answer.· Forgive me.
     24· A.· · I said yes.
     25· Q.· · Okay.· And do you recall about when that was?




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Case 5:17-cv-05089-TLB
          JILL DILLARD Document 139-13
                       vs CITY OF       Filed 10/06/21 Page 17 of 67 PageIDConfidential
                                  SPRINGDALE                               #: 1225
          TULL, KAELEIGH on 09/29/2021                                              17

     ·1· And I know that's a hard question, but do you know?
     ·2· A.· · I know.
     ·3· Q.· · Okay.· Please.
     ·4· A.· · It was March 30th of 2003.
     ·5· Q.· · What was the occasion that you would have
     ·6· learned this information?
     ·7· A.· · That's a -- that's a hard answer.· I was in a
     ·8· relationship, romantic relationship, with Josh at that
     ·9· time.· And my parents told me what had happened
     10· because an incident had happened again.
     11· · · · · · · ·So my parents became aware, and then they
     12· told me because they felt it best that the
     13· relationship should end for the time being because of
     14· what was going on in their family.
     15· Q.· · May I say first, Ms. Holt, I take absolutely no
     16· pleasure in talking about things that are difficult,
     17· and I will do so as quickly and efficiently as we can.
     18· · · · · · · ·But I want you to know that if you want
     19· to take a break at any time, I hope you will just say,
     20· "Hey, can I just take a break and gather my thoughts
     21· again," or anything else you need to do.· Okay?
     22· A.· · I will.· Thank you.
     23· Q.· · Yes, ma'am.· So it's interesting that you said
     24· that it had happened again.· So this makes me think
     25· that they knew it happened before, maybe it had




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Case 5:17-cv-05089-TLB
          JILL DILLARD Document 139-13
                       vs CITY OF       Filed 10/06/21 Page 18 of 67 PageIDConfidential
                                  SPRINGDALE                               #: 1226
          TULL, KAELEIGH on 09/29/2021                                              18

     ·1· stopped and it happened again.· Is that what your
     ·2· understanding was?
     ·3· A.· · That was my understanding, yes.
     ·4· Q.· · And my understanding is, and you can tell me if
     ·5· I'm wrong, that when you were in a relationship with
     ·6· Josh, that would be -- do you call it courting?
     ·7· A.· · Courting?
     ·8· Q.· · Yes.
     ·9· A.· · Well, at the time, we called it betrothal.
     10· Q.· · Okay.
     11· A.· · But yes, technically.
     12· Q.· · All right.· And then my understanding is that
     13· that betrothal would be approved by both Josh's father
     14· and your father; is that --
     15· A.· · And our mothers.
     16· Q.· · And your mothers.· Okay.· Fair enough.
     17· · · · · · · · And on March 30th, when you were told,
     18· did the betrothal, did it go on hiatus?· Did it stop?
     19· A.· · I -- I believe that at the time they thought
     20· that it was over but with a potential to work things
     21· out in the future.· So kind of maybe on hold is how
     22· you would say that.
     23· Q.· · Okay.· Did it ever get restarted again, the
     24· betrothal?
     25· A.· · No.




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Case 5:17-cv-05089-TLB
          JILL DILLARD Document 139-13
                       vs CITY OF       Filed 10/06/21 Page 19 of 67 PageIDConfidential
                                  SPRINGDALE                               #: 1227
          TULL, KAELEIGH on 09/29/2021                                              19

     ·1· Q.· · Did your parents take that occasion to discuss
     ·2· with you sort of what had happened and what had --
     ·3· what had happened between -- in the Duggar family?
     ·4· A.· · Yes.
     ·5· Q.· · Did they discuss -- do you know if they
     ·6· discussed those things with any of your brothers and
     ·7· sisters as well?
     ·8· A.· · Yes.
     ·9· Q.· · Okay.· And did they talk about safety and being
     10· safe and situations to avoid if that ever happened to
     11· any of you?
     12· A.· · Yes, they did.
     13· Q.· · Okay.· Do you recall any of the sort of
     14· admonishments or advice or sort of instructions they
     15· gave y'all to avoid a situation like that?
     16· A.· · Yes.· I feel like it had been kind of a very
     17· open conversation with our family after that happened.
     18· We -- first we talked about accountability, so having
     19· open communication with people that we trust if an
     20· incident ever felt -- pardon me, if we ever felt,
     21· first of all, threatened or we were violated.
     22· · · · · · · ·And then to go to someone that we trusted
     23· and talk about it because that would be a safe place.
     24· And then if we ever saw anything with someone else, to
     25· talk about it so that they would be in a safer place




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Case 5:17-cv-05089-TLB
          JILL DILLARD Document 139-13
                       vs CITY OF       Filed 10/06/21 Page 20 of 67 PageIDConfidential
                                  SPRINGDALE                               #: 1228
          TULL, KAELEIGH on 09/29/2021                                              20

     ·1· also.
     ·2· Q.· · And did you have a perception of how that
     ·3· situation was handled in the Duggar family?
     ·4· A.· · Did I have a perception of how that was handled?
     ·5· Q.· · Did you know what they had done within the
     ·6· family to handle their situation?
     ·7· A.· · I don't know exactly how they talked to their
     ·8· children about it, but I do know some steps that they
     ·9· took to -- to deal with it.
     10· Q.· · And what are those that you remember, Ms. Tull?
     11· A.· · My dad was a chaplain at a juvenile sex offender
     12· facility prior to this happening, and my dad heavily
     13· encouraged Jim Bob and Josh to turn themselves in to
     14· the police.· And they -- he eventually persuaded them.
     15· · · · · · · ·And they went on April 9th, 2003, to a
     16· police officer to confess what he had done.· So I know
     17· they took that measure.· They also sent Josh out of
     18· the home from probably March 31st, because I think
     19· they left the next day that I found out.· So around
     20· March 31st, 2003, to July 18th of 2003.· So a few
     21· months.
     22· Q.· · Do you know to whom they -- I should say I guess
     23· Josh's father, Mr. Duggar, took Josh?· You
     24· mentioned --
     25· A.· · The police officer?




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Case 5:17-cv-05089-TLB
          JILL DILLARD Document 139-13
                       vs CITY OF       Filed 10/06/21 Page 21 of 67 PageIDConfidential
                                  SPRINGDALE                               #: 1229
          TULL, KAELEIGH on 09/29/2021                                              21

     ·1· Q.· · Yes.
     ·2· A.· · I don't know his name.
     ·3· Q.· · It is my understanding that at some point, I
     ·4· don't know if this is the same occasion, Mr. Duggar
     ·5· took Josh to a state trooper named Hutchens.· Does
     ·6· that ring a bell at all?
     ·7· A.· · I know they took him to a state trooper, but I
     ·8· don't remember his name.
     ·9· Q.· · Were you ever told what happened or what
     10· occurred in that visit between the trooper,
     11· Mr. Duggar, and Josh Duggar?
     12· A.· · My -- Josh did not tell me, and I don't believe
     13· Jim Bob told me either.· I think it was my dad who
     14· told me that the police officer was, "Well, thank you
     15· for coming to us and talking about it, and we trust
     16· that you won't ever do it again," and they let him
     17· leave.· That's my understanding of how that went.
     18· Q.· · And to your knowledge, did the trooper ever make
     19· a report, as a mandatory reporter, to the Arkansas,
     20· you know, hotline?· Did he call the hotline?
     21· A.· · As far as I know, he did not communicate this to
     22· anyone else.
     23· Q.· · Okay.· Did -- did you have the occasion to talk
     24· to any of his sisters who would have been victims
     25· about what they did afterwards?




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Case 5:17-cv-05089-TLB
          JILL DILLARD Document 139-13
                       vs CITY OF       Filed 10/06/21 Page 22 of 67 PageIDConfidential
                                  SPRINGDALE                               #: 1230
          TULL, KAELEIGH on 09/29/2021                                              22

     ·1· A.· · You mean how they were -- how they were
     ·2· emotionally handled?
     ·3· Q.· · Sure.· Yes.
     ·4· A.· · I know they -- they had a lot of conversations
     ·5· with their parents.· I spoke to them briefly, mostly
     ·6· in a comforting way.· Not for counseling, just because
     ·7· we were friends.· And I was just 15 at the time.                       I
     ·8· don't recall any specific conversations that we had.
     ·9· Yeah.· I'm sorry.· I'm not real helpful.
     10· Q.· · That's fine.· Do you know if any of them sought
     11· help, you know, more professionally with a counselor
     12· or a physician?
     13· A.· · While we were still hanging out with them, they
     14· did not.
     15· Q.· · Okay.· Since then, have you had the occasion to
     16· discuss with any of them what they have done to work
     17· through those feelings or to deal with that trauma?
     18· A.· · I have talked to Jill.
     19· Q.· · And can you recall her ever telling you that she
     20· sought help, professional help, whether counseling --
     21· A.· · Yes.
     22· Q.· · She did?
     23· A.· · Yes.· I believe it was after they were married,
     24· her and Derick.
     25· Q.· · Oh, she did?




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Case 5:17-cv-05089-TLB
          JILL DILLARD Document 139-13
                       vs CITY OF       Filed 10/06/21 Page 23 of 67 PageIDConfidential
                                  SPRINGDALE                               #: 1231
          TULL, KAELEIGH on 09/29/2021                                              23

     ·1· A.· · Uh-huh.
     ·2· Q.· · And have you ever talked to any of the sisters
     ·3· about anything else -- any of the other sisters?
     ·4· A.· · I -- no.· I have lost contact with Jinger and
     ·5· Joy.
     ·6· Q.· · Okay.
     ·7· A.· · And Jana.
     ·8· Q.· · Ms. Tull, after you put that betrothal on hold,
     ·9· did your families continue to have the same kind of
     10· relationship that they had prior?
     11· A.· · No.
     12· Q.· · Okay.· Can you just describe what happened to
     13· the relationship between the families?
     14· A.· · I'm trying to figure out a good way to say it
     15· without giving you a lot of the story.· Well, simply
     16· put, there was -- after what happened with Josh, there
     17· was a lot of distrust between our families and our
     18· communication with each other.
     19· · · · · · · ·We still went to the same church
     20· gathering, family gatherings, whatever you want to
     21· call it; and we did for several years.· But the
     22· relationship was always strained.· It never -- it
     23· never went back to where it was before.
     24· Q.· · Ms. Tull, do you recall at any of the gatherings
     25· this incident or -- well, the incident being discussed




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Case 5:17-cv-05089-TLB
          JILL DILLARD Document 139-13
                       vs CITY OF       Filed 10/06/21 Page 24 of 67 PageIDConfidential
                                  SPRINGDALE                               #: 1232
          TULL, KAELEIGH on 09/29/2021                                              24

     ·1· or brought up in any way at a gathering?
     ·2· · · · · · · · MR. BLEDSOE:· Object to the form.
     ·3· A.· · Not amongst the children.· I do know that the
     ·4· fathers got together and talked about it.· But the
     ·5· children -- the children didn't talk about it.
     ·6· Q.· · Do you recall Josh ever going forward or coming
     ·7· forward to -- if not the children, to the older
     ·8· attendees of the gathering, the parents?
     ·9· A.· · I do.· I know that he did attend some of those
     10· meetings, yes.
     11· Q.· · Did he tell you about those, or did your dad
     12· tell you about those?
     13· A.· · I know he told me some of them.· I'm trying to
     14· remember some things because I know, like, timeline of
     15· events.· But I can't remember for sure who told me
     16· what when it came to Josh or my dad because there were
     17· times that Josh would tell me things.
     18· Q.· · Okay.· You are pretty darn good with dates.
     19· A.· · I think it was because I was romantically
     20· involved that you remember those kind of things.
     21· Q.· · The ones -- yeah.· The ones that stick in my
     22· mind, you mentioned March 30th right away, 2003.· And
     23· then April, you mentioned that you think that's when
     24· Josh either went to the trooper or went away for the
     25· summer.




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Case 5:17-cv-05089-TLB
          JILL DILLARD Document 139-13
                       vs CITY OF       Filed 10/06/21 Page 25 of 67 PageIDConfidential
                                  SPRINGDALE                               #: 1233
          TULL, KAELEIGH on 09/29/2021                                              25

     ·1· A.· · The trooper.
     ·2· Q.· · The trooper?
     ·3· A.· · He went away for a couple months March, I think,
     ·4· 31st or something, whichever it was that year.                     I
     ·5· don't remember.· It was April 1st or if it was March,
     ·6· whichever one -- whichever of those two days it was
     ·7· because I had found out about it on March 30th.· And
     ·8· he said it had happened that same night or the night
     ·9· before, something like that.
     10· · · · · · · ·And there was a day or two where my family
     11· was traveling, and they ended up telling me very soon
     12· after the incident had happened.· And then Josh left
     13· and he went out of town.· Jim Bob took him to a
     14· facility in Little Rock, and he wanted him to come
     15· back for his birthday on July 18th.· So he drove down
     16· and got him and brought him back.· So that's how I
     17· remember those dates.
     18· Q.· · So the times that Josh would go to speak with
     19· the older people, the parents at least, at these
     20· gatherings, was that before he went down to
     21· Little Rock until July 18th, or was that after July
     22· 18th when he came back?
     23· A.· · It was after.· As far as I know, my dad is the
     24· only person that knew.· Well, there was one other
     25· family that knew during the time that he was away.




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Case 5:17-cv-05089-TLB
          JILL DILLARD Document 139-13
                       vs CITY OF       Filed 10/06/21 Page 26 of 67 PageIDConfidential
                                  SPRINGDALE                               #: 1234
          TULL, KAELEIGH on 09/29/2021                                              26

     ·1· Q.· · That he was in Little Rock?
     ·2· A.· · Right.
     ·3· Q.· · And could I be so bold to assume that your
     ·4· father would discuss it with your mother as well?
     ·5· A.· · Yes, they did.
     ·6· Q.· · Okay.· And then who was the other family that
     ·7· you know that knew?
     ·8· A.· · The Butcher family.
     ·9· Q.· · Now, I've been -- there has been testimony that
     10· the Duggar family visited Josh on at least one
     11· occasion, perhaps more than one occasion in
     12· Little Rock.· They would travel together to
     13· Little Rock to visit Josh.· Did you ever go on any of
     14· those visits?
     15· A.· · I did not.
     16· Q.· · Do you think any of your --
     17· A.· · I waited -- I waited to see him until he came
     18· back.
     19· Q.· · Did your brothers and sisters ever go on any of
     20· those visits?
     21· A.· · No.
     22· Q.· · And do you know if any of the other families
     23· that you mentioned, did they all go -- did any of
     24· those go visit him that you are aware of?
     25· A.· · No.· Not that I'm aware of.· It was pretty quiet




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Case 5:17-cv-05089-TLB
          JILL DILLARD Document 139-13
                       vs CITY OF       Filed 10/06/21 Page 27 of 67 PageIDConfidential
                                  SPRINGDALE                               #: 1235
          TULL, KAELEIGH on 09/29/2021                                              27

     ·1· at the time, at that time when Josh was away.
     ·2· Q.· · Well, can you contrast that with after he came
     ·3· back?· Was it -- was that the time that it became more
     ·4· known amongst the people in the gathering?
     ·5· A.· · Yes.
     ·6· Q.· · And -- and why is that?· What was -- what was
     ·7· different at that time after he came back from
     ·8· Little Rock?
     ·9· A.· · I think they tried to establish communication
     10· with other men that they trusted to help him to work
     11· through those issues.· I cannot recall at the time how
     12· many there were at that time.· It was still a smaller
     13· group of people at that time.· I know that he talked
     14· to Perry Butcher and my dad and Jim Bob, but I don't
     15· remember who else knew about it at that time.
     16· Q.· · When Josh did describe for you what was
     17· happening when he would meet with the older people,
     18· the parents, what did he describe?
     19· A.· · That they got on to him, they gave him wise
     20· advice, that they encouraged him to be a better man,
     21· and that he would confess his transgressions with
     22· them.
     23· Q.· · Ms. Tull, were you ever aware that Josh was
     24· compelled to cut his hair after he had confessed to
     25· them?




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Case 5:17-cv-05089-TLB
          JILL DILLARD Document 139-13
                       vs CITY OF       Filed 10/06/21 Page 28 of 67 PageIDConfidential
                                  SPRINGDALE                               #: 1236
          TULL, KAELEIGH on 09/29/2021                                              28

     ·1· A.· · Yes.
     ·2· Q.· · Was there -- was that something that was done at
     ·3· one of the gatherings or was that done with just the
     ·4· older people with him?
     ·5· A.· · I believe that was done privately actually.                       I
     ·6· think he was alone.
     ·7· Q.· · Oh, okay.· And was that after he came back in
     ·8· July of 2003 or was that before he left; do you know?
     ·9· A.· · This -- that was in a different year entirely.
     10· Q.· · Oh, okay.
     11· A.· · Like I said, it was quiet for probably two
     12· years.· And then they got turned in to DHS from The
     13· Oprah Winfrey Show, I believe, and then it became far
     14· more well known at that point.
     15· · · · · · · ·But I think that may have been in 2006 or
     16· 2005 is when Josh shaved his head.· I didn't go over
     17· those dates, so I can't give you a specific one.
     18· Q.· · Were you still as in close touch with any of the
     19· Duggars or Josh at that time, in 2005 or '6 when he
     20· shaved his head?
     21· A.· · Yes.
     22· Q.· · Okay.· Were you mostly more in touch with Jill
     23· or Joy, or were there others in the family?
     24· A.· · No.· I was actually more in contact with Jim Bob
     25· and Michelle at that time.· We were still in family




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Case 5:17-cv-05089-TLB
          JILL DILLARD Document 139-13
                       vs CITY OF       Filed 10/06/21 Page 29 of 67 PageIDConfidential
                                  SPRINGDALE                               #: 1237
          TULL, KAELEIGH on 09/29/2021                                              29

     ·1· gatherings with them.· But I haven't had as close of
     ·2· contact with the girls at that time until more
     ·3· recently, as we've become adults.
     ·4· · · · · · · ·We were friends as kids, but we weren't --
     ·5· we didn't actually talk to each other about things
     ·6· that had happened when we were children.· Not -- not
     ·7· specifics or details.· I talked far more with Jim Bob
     ·8· and Michelle than the girls.
     ·9· Q.· · What was the nature of that relationship,
     10· Ms. Tull?· Was it family friends or were they more
     11· counseling you, or what was the -- how would you --
     12· I'm so sorry.· Could you describe that relationship
     13· between you and Jim Bob and Michelle after, let's say,
     14· you know, July of 2003?
     15· A.· · I think -- I mean, I had expected to marry their
     16· son and they had expected me to be their
     17· daughter-in-law.· And this was a lot of -- a lot of
     18· heartache that happened for me when I was --
     19· especially that young.
     20· · · · · · · ·So I think that we had a lot of
     21· conversations, mostly to see how I was doing and to
     22· see how Josh was doing.· And so I guess still kind of,
     23· like, in-law relationship in a way.· But we just cared
     24· about each other as, you know, friends as well as
     25· that, you know, parental/daughter relationship.




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Case 5:17-cv-05089-TLB
          JILL DILLARD Document 139-13
                       vs CITY OF       Filed 10/06/21 Page 30 of 67 PageIDConfidential
                                  SPRINGDALE                               #: 1238
          TULL, KAELEIGH on 09/29/2021                                              30

     ·1· Q.· · How old were you in July of 2003?
     ·2· A.· · I was 15.
     ·3· Q.· · Okay.· Is it fair to say that there was still
     ·4· some hope amongst Jim Bob and Michelle that the
     ·5· betrothal would be able to continue and y'all would be
     ·6· able to be married?
     ·7· A.· · At that time, yes.
     ·8· Q.· · You had a time in your mind when that issue was
     ·9· closed for good, in your mind and theirs as well?
     10· A.· · I'm not sure about them.· I came to that
     11· conclusion much sooner.· I believe I was 17, maybe 18.
     12· And I had -- I had just had enough of the issues that
     13· were happening that -- and Josh made a comment to me
     14· about that made me feel as if he took advantage of my
     15· feelings for him, and I -- it made me aware that I
     16· just felt really used emotionally, and I was just
     17· done.
     18· · · · · · · ·But I do -- I do recall that, and I think
     19· I just -- I shut myself off emotionally to them after
     20· that.· I kind of just knew that it was never going to
     21· happen, and I didn't want it to happen anymore.· And
     22· so yeah.
     23· Q.· · Ms. Tull, you mentioned that was there -- was
     24· there an incident?· Was there a thing that sort of
     25· brought that understanding that you had, that you came




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Case 5:17-cv-05089-TLB
          JILL DILLARD Document 139-13
                       vs CITY OF       Filed 10/06/21 Page 31 of 67 PageIDConfidential
                                  SPRINGDALE                               #: 1239
          TULL, KAELEIGH on 09/29/2021                                              31

     ·1· to, or was it just that conversation that you had had
     ·2· with Josh?
     ·3· A.· · There was something that happened.
     ·4· Q.· · And may I ask?
     ·5· A.· · Josh was still looking at pornography and was
     ·6· lying about it, and it was -- it was more the lies
     ·7· that I was -- I was done with.· I understand it, you
     ·8· know, people look at pornography and people are okay
     ·9· with doing that.
     10· · · · · · · ·But for us in our relationship, it wasn't.
     11· And I was not okay with being lied to about it.· And I
     12· think that I couldn't trust him anymore was -- and
     13· that I also felt taken advantage of.· The combination
     14· of that made me feel like I was just -- it was
     15· resolved in my heart.
     16· Q.· · Was -- you -- I'm assuming you were still living
     17· at home at this time?
     18· A.· · My whole family was actually living in
     19· Little Rock at that time.
     20· Q.· · Okay.· Were you -- but you stayed in northwest
     21· Arkansas?
     22· A.· · No.· Actually, Josh was there with us.
     23· Q.· · In Little Rock?
     24· A.· · Yes.
     25· Q.· · Okay.




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Case 5:17-cv-05089-TLB
          JILL DILLARD Document 139-13
                       vs CITY OF       Filed 10/06/21 Page 32 of 67 PageIDConfidential
                                  SPRINGDALE                               #: 1240
          TULL, KAELEIGH on 09/29/2021                                              32

     ·1· A.· · He stayed in a different -- I'm sorry.
     ·2· Q.· · Please.· I'm so sorry I interrupted.
     ·3· A.· · Oh, he stayed -- he stayed close by in another,
     ·4· like, a dorm room, a room that another family was
     ·5· loaning him.· But he came down to Little Rock with us
     ·6· to help out my dad while my dad was in the
     ·7· legislature.
     ·8· Q.· · Oh, right.· But he was -- was he still -- did he
     ·9· come to Little Rock from his family home or had he
     10· moved out of his family home by then?
     11· A.· · He was temporarily --
     12· Q.· · Yeah.
     13· A.· · -- living there.· So he fully intended to go
     14· back to living with his family at the time.
     15· Q.· · Gotcha.· And when -- when you had this sort of
     16· revelation and realization, was it Josh who told you
     17· what he had been doing or did someone else tell you,
     18· or did you discover that some other way?
     19· A.· · He told my parents first and then he told me
     20· also.
     21· Q.· · Do you think he had been found out by someone
     22· else and was compelled to tell them, or did something
     23· else bring him to tell them?
     24· A.· · I don't remember if he got caught or not in that
     25· specific instance.· I know that he had a pretty open




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Case 5:17-cv-05089-TLB
          JILL DILLARD Document 139-13
                       vs CITY OF       Filed 10/06/21 Page 33 of 67 PageIDConfidential
                                  SPRINGDALE                               #: 1241
          TULL, KAELEIGH on 09/29/2021                                              33

     ·1· relationship, accountability relationship with my dad
     ·2· at that point, with both of my parents, too.· But I
     ·3· don't -- I don't remember if he willingly confessed or
     ·4· not.
     ·5· Q.· · Your dad had been in the legislature.· Was that
     ·6· his first term, Ms. Tull?· I'm trying to remember the
     ·7· years that he served.
     ·8· A.· · I think it was -- I think it was first term in
     ·9· the Senate.
     10· Q.· · Yeah.
     11· A.· · He had already served a term in the House of
     12· Representatives, if I remember correctly.
     13· Q.· · Did -- did he term out of the Senate or did he
     14· run for something else?
     15· A.· · Both.
     16· Q.· · Okay.
     17· A.· · He had a four-year term with the Senate and he
     18· ran in between terms.· So...
     19· Q.· · And he did not succeed in that election, that
     20· midterm election; is that correct?
     21· A.· · That's correct.
     22· Q.· · And then he served out his term as senator, and
     23· I don't remember if he went back to being a senator
     24· again after that or not?
     25· A.· · No, he did not.




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Case 5:17-cv-05089-TLB
          JILL DILLARD Document 139-13
                       vs CITY OF       Filed 10/06/21 Page 34 of 67 PageIDConfidential
                                  SPRINGDALE                               #: 1242
          TULL, KAELEIGH on 09/29/2021                                              34

     ·1· Q.· · This would be, then -- help me with the year,
     ·2· Ms. Tull.· This would have been more like 2005 or '6
     ·3· when you were in Little Rock with your family and Josh
     ·4· came down to live there as well?
     ·5· A.· · I'm trying to remember the years that he served.
     ·6· I think -- I think they were -- I can't remember if
     ·7· it's odd years or even years that they run and then
     ·8· serve.· So one of those.· One of those.· It was
     ·9· probably 2005 or 2006.
     10· Q.· · Let us mark it with the -- you had mentioned the
     11· incident -- or the occurrence of The Oprah Show and
     12· what happened and how the -- how it ended up being
     13· told after that.· Do you remember about what year that
     14· was?· I may know.· I don't want to catch you --
     15· just --
     16· A.· · I don't remember the year because I did not
     17· refresh my memory to that degree before this
     18· deposition.
     19· Q.· · Okay.
     20· A.· · But I do know that it was at least two years
     21· after I found out initially.
     22· Q.· · Okay.· Do you think that could have been around
     23· December of 2006 when the Duggars went up to Chicago
     24· to be on The Oprah Show?
     25· A.· · That sounds about right.· I was thinking it was




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Case 5:17-cv-05089-TLB
          JILL DILLARD Document 139-13
                       vs CITY OF       Filed 10/06/21 Page 35 of 67 PageIDConfidential
                                  SPRINGDALE                               #: 1243
          TULL, KAELEIGH on 09/29/2021                                              35

     ·1· around three years after is what I was thinking.· But
     ·2· that's why I said at least two.· I can't remember for
     ·3· sure.
     ·4· Q.· · Ms. Tull, I meant to ask you.· Do you believe
     ·5· that the March -- the occurrence in March 30th or 29th
     ·6· or so of 2003, was that involving Joy on the chair?
     ·7· A.· · (Witness nodding head.)
     ·8· Q.· · Okay.
     ·9· A.· · Yes, it was.
     10· Q.· · All right.· So going back To the Oprah Show,
     11· tell me what you remember about that.· What did you
     12· learn about what happened with The Oprah Show?
     13· A.· · What do you mean by what did I learn?
     14· Q.· · Sure.· That's a sloppy question.· What do you
     15· know?· I should just say what do you know about what
     16· happened at The Oprah Show?
     17· A.· · I don't know much about -- like, about them
     18· traveling or about, like, what happened while they
     19· were there.· I don't -- I was not there, and I did not
     20· talk to them about what happened while they were
     21· there.
     22· Q.· · There has been testimony that they went up
     23· there, filmed, but the show was not shown.· Their
     24· episode was not aired.· The episode wasn't aired.
     25· · · · · · · ·And that somebody from Harpo Production




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Case 5:17-cv-05089-TLB
          JILL DILLARD Document 139-13
                       vs CITY OF       Filed 10/06/21 Page 36 of 67 PageIDConfidential
                                  SPRINGDALE                               #: 1244
          TULL, KAELEIGH on 09/29/2021                                              36

     ·1· or The Oprah Show called the Arkansas child abuse
     ·2· hotline.· Is that your recollection?· Have you ever
     ·3· heard that?
     ·4· A.· · I have.· I did know that.
     ·5· Q.· · Okay.· And you had mentioned earlier that there
     ·6· was a time when it became more well known, and I
     ·7· thought you mentioned that around the same time as The
     ·8· Oprah Show?
     ·9· A.· · That's correct.
     10· Q.· · Is that what you mean?· Okay.· So tell me what
     11· you mean by that, that it became more well known.· And
     12· when I say "it," I mean the occurrence of the
     13· molestation by Josh.
     14· · · · · · · · MR. BLEDSOE:· Object to the form.
     15· A.· · I -- I wrote a letter to an author kind of
     16· getting my emotions out.· It was more like a journal
     17· page, but just so happened to be to the author of a
     18· book I was reading at that time.· And I -- I guess I
     19· put it back in the book.· I don't remember doing this.
     20· But I put it back in the book and put it back -- put
     21· the book on my shelf from the first initial 2003
     22· event.
     23· · · · · · · ·And so it had been in there for many
     24· years.· And then I lent the books out to a friend in
     25· 2006, not remembering that that letter was in there.




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Case 5:17-cv-05089-TLB
          JILL DILLARD Document 139-13
                       vs CITY OF       Filed 10/06/21 Page 37 of 67 PageIDConfidential
                                  SPRINGDALE                               #: 1245
          TULL, KAELEIGH on 09/29/2021                                              37

     ·1· And when that letter was discovered, the girl that I
     ·2· had lent it to told her parents, and her parents told
     ·3· other parents.· And then there was a whole group of
     ·4· people that knew about it at the time.· And they kind
     ·5· of just left the family church gathering.
     ·6· · · · · · · ·And then some people kind of pursued them,
     ·7· like, "Hey, we miss you.· What's going on?· Why
     ·8· haven't you been coming?"· And then people kind of
     ·9· kept talking about it, about what had happened.· And
     10· it was all around that same time.
     11· · · · · · · ·And I can't remember if Oprah was alerted
     12· by DHS or if a private person alerted her.· I can't
     13· remember for sure how that happened.· But I do know
     14· that they were turned in on information that was going
     15· around in the church at that time.· And it became --
     16· I'm pretty sure everyone that was going at that time
     17· knew.· So...
     18· Q.· · May I ask if you recall the name of the friend
     19· you loaned the series to?
     20· A.· · Her name was Gabbi Reno.
     21· Q.· · I'm so sorry, Ms. Tull.· I didn't hear the last
     22· name.
     23· A.· · Reno.
     24· Q.· · Okay.· And did she live in Cave Springs or
     25· Elm Springs; do you recall?




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Case 5:17-cv-05089-TLB
          JILL DILLARD Document 139-13
                       vs CITY OF       Filed 10/06/21 Page 38 of 67 PageIDConfidential
                                  SPRINGDALE                               #: 1246
          TULL, KAELEIGH on 09/29/2021                                              38

     ·1· A.· · I know it was not in the same area as us, but I
     ·2· don't remember.
     ·3· Q.· · Okay.· Is -- I'm interested that you wrote to an
     ·4· author.· What was -- what the series?· Who was the
     ·5· author?
     ·6· A.· · The author was Janette Oke, and the series
     ·7· was -- gosh.· I know the title of the books, but I
     ·8· don't know the title of the series.
     ·9· Q.· · What was the title that I could find the series?
     10· A.· · I believe they were A Searching Heart, A Quiet
     11· Strength.· There's a third one.· The last one is Like
     12· Gold Refined.· And I don't remember the third one -- a
     13· fourth book, but I don't remember what that was
     14· called.· I still have them.· I could look them up if
     15· you want that.
     16· Q.· · Oh, no.· No.· I was curious.· And so when you
     17· wrote the letter, it wasn't so much -- I don't know if
     18· you intended to send it to the author or not, but you
     19· didn't send it to the author.
     20· A.· · I didn't intend to.· It was -- because I write.
     21· I write a lot.· You know, I journal and so I write my
     22· feelings.· And that was basically a journal page but
     23· to the author of the book that I had read.· So I had
     24· not intended on sending it.
     25· Q.· · Do you recall what you wrote that would cause




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Case 5:17-cv-05089-TLB
          JILL DILLARD Document 139-13
                       vs CITY OF       Filed 10/06/21 Page 39 of 67 PageIDConfidential
                                  SPRINGDALE                               #: 1247
          TULL, KAELEIGH on 09/29/2021                                              39

     ·1· people to, you know, talk about it and talk to each
     ·2· other about it, and then eventually somebody would
     ·3· report to The Oprah Show or to DHS?
     ·4· A.· · Yeah.· I wrote his name.· I did.· I wrote that
     ·5· Josh had molested his sisters.
     ·6· Q.· · And did you ask anyone to get the letter back?
     ·7· Did anyone ever offer to give the letter back to you?
     ·8· A.· · I did.· I asked for it back.
     ·9· Q.· · To the -- to Ms. Reno?
     10· A.· · Yes.· And her parents.· But they said that they
     11· burned it.
     12· Q.· · Oh.
     13· A.· · I'm not sure if that's true, but that's what I
     14· was told.
     15· Q.· · Were the Renos at that time attending the
     16· gatherings as well?
     17· A.· · They were.· They had not been long though.· They
     18· were a newer -- a newer family.
     19· Q.· · Okay.· Did this information, once it went
     20· through the families, the families knew at the
     21· gatherings, did it change the nature of those
     22· gatherings of the service?
     23· A.· · It did.
     24· · · · · · · · MR. BLEDSOE:· Object to the form.
     25· Q.· · Can you describe that, how it changed?




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Case 5:17-cv-05089-TLB
          JILL DILLARD Document 139-13
                       vs CITY OF       Filed 10/06/21 Page 40 of 67 PageIDConfidential
                                  SPRINGDALE                               #: 1248
          TULL, KAELEIGH on 09/29/2021                                              40

     ·1· A.· · There was basically three groups of people.
     ·2· People -- well, because the Duggars were turned in at
     ·3· that time when information came out, there was
     ·4· basically three groups of people: People that felt
     ·5· like they should not have been turned in, people that
     ·6· felt like they should have been, and then the group of
     ·7· people who wanted to stay out of it entirely.· And so
     ·8· it kind of split from there.
     ·9· Q.· · And did that cause the -- the -- a splintering
     10· of the group itself, or did they continue to meet
     11· together?
     12· A.· · No.· They -- it was several families I don't
     13· think I've even seen again ever.· So it was definitely
     14· permanent.· Some people have kind of come back around,
     15· and especially the people that stayed out of it kind
     16· of came back around and fellowshiped with either side.
     17· But it took time.· It definitely wasn't an immediate
     18· thing.· We were pretty separate for a while.
     19· Q.· · Eventually, they were turned in.· The hotline
     20· was eventually called.· Do you know who did that, who
     21· called the hotline eventually?
     22· A.· · Yes.
     23· Q.· · Who was that?
     24· A.· · Her name is Dasha Nichols.
     25· Q.· · And was she in the gathering as well?· Was




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Case 5:17-cv-05089-TLB
          JILL DILLARD Document 139-13
                       vs CITY OF       Filed 10/06/21 Page 41 of 67 PageIDConfidential
                                  SPRINGDALE                               #: 1249
          TULL, KAELEIGH on 09/29/2021                                              41

     ·1· she --
     ·2· A.· · She was.
     ·3· Q.· · Okay.· And Ms. Tull, were there people who
     ·4· blamed you for that?
     ·5· A.· · Yes.
     ·6· Q.· · And how did they express that?· I'm sorry.· You
     ·7· know what, we have been going an hour, and this is a
     ·8· good time for a break.· So why don't we -- you want to
     ·9· take about 10 minutes?
     10· A.· · That would be nice.· Thank you.
     11· Q.· · Yes.· All right.· We'll come back in 10 minutes.
     12· And you can cut your camera and your sound.
     13· A.· · Okay.
     14· · · · · · · · THE VIDEOGRAPHER:· The time is 4:05.· We
     15· · · · · · are now off the record.
     16· · · · · ·(Recess from 4:05 p.m. to 4:16 p.m.)
     17· · · · · · · · THE VIDEOGRAPHER:· The time is 4:16.
     18· · · · · · We're now on the record.
     19· · · · · · · · MR. KIEKLAK:· Thank you.
     20· Q.· · Just taking a break.· And thank you, Ms. Tull,
     21· for that.· And we had left off, we were talking about
     22· kind of the effect on the families in the gathering
     23· and sort of the spreading of the knowledge of, you
     24· know, the incident in the Duggar family.
     25· A.· · Yeah, you asked me if they blamed me.




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Case 5:17-cv-05089-TLB
          JILL DILLARD Document 139-13
                       vs CITY OF       Filed 10/06/21 Page 42 of 67 PageIDConfidential
                                  SPRINGDALE                               #: 1250
          TULL, KAELEIGH on 09/29/2021                                              42

     ·1· Q.· · Yes, ma'am.· Did you want to respond to that?
     ·2· · · · · · · · MR. BLEDSOE:· Object to the form.
     ·3· A.· · I answered "yes" earlier, which is what made me
     ·4· cry, but that's fine.
     ·5· Q.· · Let me ask it this way, who expressed that to
     ·6· you?
     ·7· · · · · · · · MR. BLEDSOE:· Object to the form.
     ·8· A.· · I know I had a conversation with Jim Bob and
     ·9· Michelle about it, and there were some other families
     10· that were pretty upset about that also.
     11· · · · · · · ·Oh, I remembered another family that was
     12· attending.· The Russes.
     13· · · · · · · · THE COURT REPORTER:· The who?· I'm
     14· · · · · · sorry.
     15· · · · · · · · THE WITNESS:· Russes.
     16· · · · · · · · THE COURT REPORTER:· Thank you.
     17· Q.· · Maybe we come at it this way.· You mentioned
     18· that there were sort of three, almost, camps after the
     19· report was made to DHS and people began to know about
     20· it.· Can you -- let's say the camp that didn't want to
     21· be involved, those people, do you remember sort of who
     22· the families were in that --
     23· · · · · · · · MR. BLEDSOE:· Object to the form.
     24· Q.· · -- category?
     25· A.· · I don't remember everyone.· I believe I know the




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Case 5:17-cv-05089-TLB
          JILL DILLARD Document 139-13
                       vs CITY OF       Filed 10/06/21 Page 43 of 67 PageIDConfidential
                                  SPRINGDALE                               #: 1251
          TULL, KAELEIGH on 09/29/2021                                              43

     ·1· Bakers left.· I'm trying to remember their names.
     ·2· Some families that I haven't seen again.· Some I don't
     ·3· remember their names.· I can see their faces in my
     ·4· head.
     ·5· · · · · · · ·But I think there were -- there were a
     ·6· couple of families that stayed out of it for a time,
     ·7· like I had mentioned previously, and I believe the
     ·8· Butchers and the Millsaps, and hmm.
     ·9· · · · · · · ·I can't -- there were three or four
     10· families that kind of stayed out of it for a little
     11· while, and some of them permanently as well.· And then
     12· some of them that kind of came back to become friends
     13· again.· But my memory is hazy on that.
     14· Q.· · Then there was a category of families who
     15· believed that yes, you know, Josh should have been
     16· turned in, this should have been addressed by
     17· authorities.· And who were those families?
     18· A.· · My parents, the Nichols.· I think the Russes,
     19· the McPhersons.· I did not have direct conversations
     20· with some of those parents at that time to know for
     21· sure where everyone stood.
     22· · · · · · · ·I mostly remember the people that left
     23· that we never saw again, the people that still hung
     24· around, and the people that were still hanging around
     25· the Duggars.· So I didn't -- I don't actually have all




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Case 5:17-cv-05089-TLB
          JILL DILLARD Document 139-13
                       vs CITY OF       Filed 10/06/21 Page 44 of 67 PageIDConfidential
                                  SPRINGDALE                               #: 1252
          TULL, KAELEIGH on 09/29/2021                                              44

     ·1· the information about who was there and who wasn't.
     ·2· Q.· · How about the families who hung around the
     ·3· Duggars, who sort of thought that it was wrong that
     ·4· they were turned in at all?
     ·5· A.· · I know the Querys.· I don't remember.· I know --
     ·6· I know for sure that it was at least the Querys and
     ·7· possibly the Andreggs.· But because we were separated
     ·8· at that time, I'm -- I'm not sure who all stayed
     ·9· around.
     10· Q.· · Was there -- did any of the Duggar girls ever
     11· tell you that they were instructed not to talk about
     12· the incident of molestation to anyone by their
     13· parents?
     14· A.· · Yes.· Yes.
     15· Q.· · Did -- was there ever an occasion where the
     16· young people who would attend the services, the
     17· gatherings, were instructed by any of the parents not
     18· to talk about the incident of the molestation of the
     19· Duggars?
     20· · · · · · · · MR. BLEDSOE:· Object to the form.
     21· A.· · I know the Butcher children were told not to
     22· talk about it and the Duggar children were told not to
     23· talk about it and the Baker children were told not to
     24· talk about it.· But I don't know anyone else, whether
     25· they were or not.




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Case 5:17-cv-05089-TLB
          JILL DILLARD Document 139-13
                       vs CITY OF       Filed 10/06/21 Page 45 of 67 PageIDConfidential
                                  SPRINGDALE                               #: 1253
          TULL, KAELEIGH on 09/29/2021                                              45

     ·1· Q.· · Okay.· Did -- was there ever the occasion in
     ·2· those gatherings, or other times that the families
     ·3· were together, where y'all would discuss it amongst
     ·4· yourselves?· Other -- I don't mean just parent to
     ·5· child, but the children around the parents and it was
     ·6· discussed amongst different families?
     ·7· · · · · · · · MR. BLEDSOE:· Object to the form.
     ·8· A.· · As far as I know, I talked to -- I talked about
     ·9· it with Jim Bob and Michelle, and I believe some of
     10· the Butcher girls talked to Jim Bob and Michelle.
     11· There may have been an occasion or two that I -- I
     12· believe that I remember talking to some of the moms,
     13· particularly the Butcher mom, Janice, and Candy
     14· Millsap because the mothers -- I talked to the adults
     15· more than I talked to the children just because I was
     16· more encouraged from a place of, like, the adults were
     17· the people to talk to about it, not the children.
     18· Then my aunt and uncle, the McPhersons.
     19· · · · · · · ·As far as I know, I believe that I was the
     20· child who was talked to more.· Mostly because
     21· everybody knew of my relationship with Josh, and so a
     22· lot of people were, you know, talking to me about the
     23· situation.
     24· Q.· · You mean the situation of the betrothal or the
     25· incident of abuse in the Duggar family?




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Case 5:17-cv-05089-TLB
          JILL DILLARD Document 139-13
                       vs CITY OF       Filed 10/06/21 Page 46 of 67 PageIDConfidential
                                  SPRINGDALE                               #: 1254
          TULL, KAELEIGH on 09/29/2021                                              46

     ·1· · · · · · · · MR. BLEDSOE:· Object to the form.
     ·2· A.· · Well, they were linked.
     ·3· Q.· · Yes, ma'am.· So both?
     ·4· A.· · Yes.
     ·5· Q.· · Ms. Tull, you recall we talked about how your
     ·6· parents used what they learned of the incident in the
     ·7· Duggar family to -- as an occasion to discuss it with
     ·8· you and your brothers and sisters about being safe and
     ·9· about preventing things like this.· Was -- did anyone
     10· ever take that occasion with the younger people in the
     11· gathering as a whole to talk about, you know, "We know
     12· this happened with the Duggars.· This is how we
     13· prevent this from happening to anyone else"?
     14· A.· · I know that the parents talked to each other
     15· because I remember some of the conversations with the
     16· moms.· Janice would talk about it with her girls and
     17· my aunt would talk about it with their children and
     18· each other.· But I'm not -- I'm not sure.· I wasn't
     19· ever present when any of those parents talked to their
     20· children, if they did.
     21· Q.· · So after this time where the report was made to
     22· the authorities, did you --
     23· A.· · The state trooper report?· Is that what you are
     24· talking about?
     25· Q.· · Well, I meant -- yes, ma'am.· I should -- I




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Case 5:17-cv-05089-TLB
          JILL DILLARD Document 139-13
                       vs CITY OF       Filed 10/06/21 Page 47 of 67 PageIDConfidential
                                  SPRINGDALE                               #: 1255
          TULL, KAELEIGH on 09/29/2021                                              47

     ·1· meant when the Duggar family, after The Oprah Show --
     ·2· A.· · Oh, okay.
     ·3· Q.· · -- were turned in to DHS, I think is how you
     ·4· termed it.· Did -- did -- did anyone ever come up to
     ·5· you who you hadn't spoken to about the incident and
     ·6· ask you about it because they had heard from someone
     ·7· else?
     ·8· · · · · · · · MR. BLEDSOE:· Object to the form.
     ·9· A.· · I can only recall one person.
     10· Q.· · Can you tell me about that?
     11· A.· · It was -- it was Michelle's niece,
     12· Rachel Hutchins, had come up to me, and we talked
     13· previously about how I had -- I had been accused or
     14· blamed for a lot of this happening.· And she was --
     15· she was -- she was really angry blaming me and asked
     16· me basically how could I have messed up to where Josh
     17· would have not wanted me anymore.
     18· · · · · · · ·I was kind of the perception that had gone
     19· around from what I had gathered that the people that
     20· were upset about it had blamed me and that basically
     21· Josh didn't deserve me because I had gossiped.· And
     22· she -- my parents relayed that to me based on the
     23· other parents that were talking.· I don't think I
     24· actually had anyone directly comment to me about that
     25· except for Rachel.




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Case 5:17-cv-05089-TLB
          JILL DILLARD Document 139-13
                       vs CITY OF       Filed 10/06/21 Page 48 of 67 PageIDConfidential
                                  SPRINGDALE                               #: 1256
          TULL, KAELEIGH on 09/29/2021                                              48

     ·1· · · · · · · ·And I was -- I was pretty shocked because
     ·2· I was unaware of what Jim Bob and Michelle were
     ·3· telling their family.· Rachel did not come to the
     ·4· church.· And so she was an outside source from
     ·5· someone, like, that we all knew but didn't actually
     ·6· come to the church.· So I was surprised by her account
     ·7· of what had happened, that it was my fault.
     ·8· Q.· · Ms. Tull, at that time, were you in school?· Did
     ·9· you home-school?
     10· A.· · Yes.
     11· Q.· · Okay.· Did your home school ever take occasion
     12· to go and meet, like, at the Jones Center or something
     13· like that, with lots of other families who were also
     14· home-schooling?
     15· A.· · Yes.· We gathered outside of church, if that's
     16· what you mean.
     17· Q.· · Yes.· Okay.· I'm trying to think how -- you may
     18· have been out of school by then though.· By the time
     19· this report to the authorities was made, you may not
     20· have been participating in that anymore, or were you?
     21· A.· · No.· I was still -- because we didn't -- we
     22· still knew all these people.· So just because I wasn't
     23· in school anymore didn't mean I didn't still hang out
     24· with them.· You know, we were -- we kind of operate as
     25· a family unit.· So whatever the family did, we all did




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Case 5:17-cv-05089-TLB
          JILL DILLARD Document 139-13
                       vs CITY OF       Filed 10/06/21 Page 49 of 67 PageIDConfidential
                                  SPRINGDALE                               #: 1257
          TULL, KAELEIGH on 09/29/2021                                              49

     ·1· it, regardless of school age or not.
     ·2· Q.· · Did anyone, any one of those encounters, you
     ·3· know, on, like, a home school trip, was people beyond
     ·4· the folks of the church, the gathering, ever ask you
     ·5· about the incident at the Duggars' house, the
     ·6· molestation?
     ·7· A.· · A child or a parent?· Is that what you mean,
     ·8· or --
     ·9· Q.· · Yes, ma'am.· Either one.
     10· A.· · Either one?
     11· · · · · · · · MR. BLEDSOE:· Object to the form.
     12· A.· · I don't remember if anyone asked me outside of
     13· the group on those events.· I don't think so.· I think
     14· it was just not the place to do that when we were out
     15· having fun.· Generally, we didn't talk about those
     16· things in that kind of context.
     17· Q.· · You mentioned of those three camps, going back
     18· to that for a second, where the Renos landed.· Were
     19· they folks who wanted to stay out of it or were they
     20· people who believed it was right to report to the
     21· authorities or were they more it should never have
     22· happened?
     23· A.· · They were in the camp of they should have
     24· reported it to authorities.
     25· Q.· · Okay.· Did you -- are you in contact with Gabbi




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Case 5:17-cv-05089-TLB
          JILL DILLARD Document 139-13
                       vs CITY OF       Filed 10/06/21 Page 50 of 67 PageIDConfidential
                                  SPRINGDALE                               #: 1258
          TULL, KAELEIGH on 09/29/2021                                              50

     ·1· at all anymore?
     ·2· A.· · No.
     ·3· Q.· · When is about the last time you think you saw
     ·4· her?
     ·5· A.· · I -- I don't know.· I remember where I was, but
     ·6· I don't remember when.
     ·7· Q.· · Where were you?
     ·8· A.· · I was at her baby's funeral.
     ·9· Q.· · Oh, I'm sorry.· Did you have the occasion to
     10· talk to her parents at that sad time?
     11· A.· · Just pleasantries, but definitely not about
     12· this.
     13· Q.· · Do you remember either of their names, Gabbi's
     14· parents?
     15· A.· · I don't.· I'm surprised that I don't, but I
     16· don't.
     17· Q.· · Is it Reno R-e-n-o, do you think?
     18· A.· · Yes, it is.
     19· Q.· · And is Gabbi Gabrielle or do you think she's
     20· Gabbi?
     21· A.· · I think she's Gabrielle.
     22· Q.· · Gabrielle.· Where do the -- do you know where
     23· the Nichols live now?· Is it Dasha?
     24· A.· · Yeah.· Dasha and Dale.
     25· Q.· · Do you know where they are now?




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Case 5:17-cv-05089-TLB
          JILL DILLARD Document 139-13
                       vs CITY OF       Filed 10/06/21 Page 51 of 67 PageIDConfidential
                                  SPRINGDALE                               #: 1259
          TULL, KAELEIGH on 09/29/2021                                              51

     ·1· A.· · I believe they still live in the Springdale
     ·2· area, the northwest Arkansas area.
     ·3· Q.· · If I tried to spell her name, is it Dasha?
     ·4· A.· · Yes.· It's D-a-s-h-a.
     ·5· Q.· · I got it wrong, so thank you.· And do you -- is
     ·6· that Dasha Nichols, is it N-i-c-h-o-l-s, or N-i-c-k,
     ·7· do you know?
     ·8· A.· · It's N-i-c-h-o-l-s.
     ·9· Q.· · Okay.· Thank you.· And do you, per chance, know
     10· her parents' names?
     11· A.· · Dasha's parents?
     12· Q.· · Uh-huh.
     13· A.· · I do not know Dasha's parents.
     14· Q.· · And do you know the -- can you name some Butcher
     15· girls for me, what the daughters' names were?
     16· A.· · Yes.· In age order, they are Jenny, Jodi,
     17· Jasmine.· Do you want the boys' names, too?
     18· Q.· · Sure.
     19· A.· · Okay.
     20· Q.· · If you remember them, so yes.
     21· A.· · I knew these people very well, so just not
     22· about -- just didn't talk about all of this.· Talked
     23· about lots of things.
     24· · · · · · · ·So Jenny; Jodi; Jasmine; Perry Douglas,
     25· who we called P.D.; Julianna; and the youngest girl's




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Case 5:17-cv-05089-TLB
          JILL DILLARD Document 139-13
                       vs CITY OF       Filed 10/06/21 Page 52 of 67 PageIDConfidential
                                  SPRINGDALE                               #: 1260
          TULL, KAELEIGH on 09/29/2021                                              52

     ·1· name is Jillian.
     ·2· Q.· · Besides the one incident that you mentioned, did
     ·3· anyone ever -- anyone else ever confront you about the
     ·4· letter, have a confrontation with you about it?
     ·5· A.· · Not that I recall.· I think they mostly talked
     ·6· to my parents.
     ·7· Q.· · Ms. Tull, did you ever witness any incident of
     ·8· abuse inside the Duggar home?
     ·9· A.· · Like, physical or sexual?
     10· Q.· · Yes.
     11· A.· · No.
     12· Q.· · Did you ever feel compelled to report the
     13· molestation to anyone or talk to anyone about it
     14· outside your mom and dad?
     15· A.· · I didn't feel the need to report it because I
     16· thought that's what had happened with the state
     17· trooper.· I thought that that was -- it was a done --
     18· it was done with.
     19· · · · · · · ·At the time, I didn't know, you know, that
     20· it really wasn't dealt with properly.· But at the
     21· time, I felt like it was, so I thought that it was
     22· handled.
     23· Q.· · Have you ever been made aware that he is in
     24· prison now, that state trooper?
     25· A.· · Yes.· I believe on child pornography charges




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Case 5:17-cv-05089-TLB
          JILL DILLARD Document 139-13
                       vs CITY OF       Filed 10/06/21 Page 53 of 67 PageIDConfidential
                                  SPRINGDALE                               #: 1261
          TULL, KAELEIGH on 09/29/2021                                              53

     ·1· actually.
     ·2· Q.· · I believe that's true.· Yes, ma'am.· There has
     ·3· been testimony that the television show, the Duggars'
     ·4· television show involving all the children, was
     ·5· canceled after The Oprah Show and the report to the
     ·6· authorities.· Were you ever confronted about that by
     ·7· anyone, about the cancellation of the show?
     ·8· · · · · · · · MR. BLEDSOE:· Object to the form.
     ·9· A.· · No.· Not me personally.
     10· Q.· · So was someone else that you know confronted
     11· about that in your family?
     12· A.· · My parents.
     13· Q.· · Can you -- what did that involve, if you recall?
     14· · · · · · · · MR. BLEDSOE:· Object to the form.
     15· A.· · I'm trying to figure out how to tell it without,
     16· like, making it longer than necessary.· Jim Bob
     17· believed that my parents were responsible for it
     18· happening, and I know that they were confronted by
     19· Jim Bob and Michelle about that.
     20· Q.· · And so did your parents tell you what the theory
     21· or the reason that the Duggars felt that way as it was
     22· expressed to them?
     23· A.· · Yes.
     24· Q.· · What was that?
     25· A.· · That my dad was jealous of Jim Bob or that he




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Case 5:17-cv-05089-TLB
          JILL DILLARD Document 139-13
                       vs CITY OF       Filed 10/06/21 Page 54 of 67 PageIDConfidential
                                  SPRINGDALE                               #: 1262
          TULL, KAELEIGH on 09/29/2021                                              54

     ·1· was trying to get back at him for what Josh had done
     ·2· to me.
     ·3· Q.· · But what -- what did they accuse your mom and
     ·4· dad of to end the show?
     ·5· · · · · · · · MR. BLEDSOE:· Object to the form.
     ·6· A.· · They accused them of setting up the person that
     ·7· was responsible for calling Oprah and getting the
     ·8· information out.
     ·9· Q.· · Ms. Tull, do you know the city attorney of
     10· Springdale, Ernest Cate, at all?
     11· A.· · No.
     12· Q.· · Do you know the former police chief
     13· Kathy O'Kelley?
     14· A.· · I've heard her name.
     15· Q.· · What, if anything, do you know about her?
     16· A.· · I don't.· I don't even know who she is.· I just
     17· know that I've heard the name before.
     18· Q.· · Sure.· How about a fellow named Rick Hoyt; have
     19· you ever heard of him?· He's from Washington County
     20· Sheriff's Department.
     21· A.· · I believe that name sounds familiar, too.· But I
     22· don't know who they are.
     23· Q.· · Besides -- I don't want to make assumptions that
     24· you know.· There has been testimony that Josh molested
     25· four of his sisters and someone else, a babysitter.




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Case 5:17-cv-05089-TLB
          JILL DILLARD Document 139-13
                       vs CITY OF       Filed 10/06/21 Page 55 of 67 PageIDConfidential
                                  SPRINGDALE                               #: 1263
          TULL, KAELEIGH on 09/29/2021                                              55

     ·1· · · · · · · ·Are you aware of any other incidents of
     ·2· abuse besides those five?· And I'm not even sure if
     ·3· you're aware of those five.· But besides those, are
     ·4· you?
     ·5· · · · · · · · MR. BLEDSOE:· Object to the form.
     ·6· A.· · Josh told me personally of the incidences.
     ·7· Q.· · So of those five persons?
     ·8· A.· · Of those five persons and about how many times.
     ·9· Q.· · And did he tell you about any other persons
     10· besides those five?
     11· A.· · No.
     12· Q.· · Have you ever been told of other victims besides
     13· from Josh?
     14· A.· · No.· I mean, Jim Bob and Michelle and my parents
     15· talked candidly with me about those things, but
     16· they've not given me any more victims than those five.
     17· Q.· · What steps, if any, were you advised to take to
     18· keep yourself safe with regard to Josh?
     19· · · · · · · · MR. BLEDSOE:· Object to the form.
     20· A.· · My parents had previously said keep
     21· communication open, that you'd be more safer if you
     22· talked about it.· If anyone ever told you don't tell
     23· your parents or don't tell anyone, that that was
     24· probably the first thing you should do.
     25· · · · · · · ·And try not to be alone with -- with Josh




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Case 5:17-cv-05089-TLB
          JILL DILLARD Document 139-13
                       vs CITY OF       Filed 10/06/21 Page 56 of 67 PageIDConfidential
                                  SPRINGDALE                               #: 1264
          TULL, KAELEIGH on 09/29/2021                                              56

     ·1· specifically.· I mean, we weren't really allowed to be
     ·2· alone before either.
     ·3· · · · · · · ·But in the cases of other men as well.
     ·4· Josh was one of the oldest boy children out of the
     ·5· group, so anybody else outside of that would have
     ·6· been, like, a married man.· My parents would also tell
     ·7· us don't -- don't be with another man, any of them,
     ·8· even if they're married or a father, or don't -- try
     ·9· not to be with them alone.· So that was kind of their
     10· safety precautions for us.· And we were not allowed to
     11· spend the night at other people's homes either.
     12· Q.· · Do you consider that the care and instruction
     13· that you'll give to your own children has changed or
     14· been informed by what you've been through with the
     15· Duggar family and knowing about the incidents?
     16· A.· · Yes.
     17· Q.· · Are you aware that there are Facebook groups or
     18· websites, I'm not sure what else you would call them,
     19· that sort of concentrate on news about the Duggar
     20· family?
     21· A.· · Yes.
     22· Q.· · Have you ever been contacted by any of those for
     23· information?
     24· A.· · I've been contacted by tabloids.
     25· Q.· · And do you respond to those, or do you decline




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Case 5:17-cv-05089-TLB
          JILL DILLARD Document 139-13
                       vs CITY OF       Filed 10/06/21 Page 57 of 67 PageIDConfidential
                                  SPRINGDALE                               #: 1265
          TULL, KAELEIGH on 09/29/2021                                              57

     ·1· to speak to those?
     ·2· A.· · Some of them I've not responded to at all, as in
     ·3· like I delete the message or ignore the message.· And
     ·4· some of them, like, specifically phone calls that I
     ·5· have gotten and been unaware of who they were, I've
     ·6· just told them I was uninterested.· It's definitely
     ·7· not something I want to be known for in my life, so...
     ·8· Q.· · Ms. Tull, it's, like, about 4:45.· If I may ask
     ·9· just for a -- five minutes to go off the record.· And
     10· the reason is, I may be able to just wrap up and end
     11· questioning.· But I'd like to take a look at notes
     12· real quickly.· Is that okay?
     13· A.· · Uh-huh.
     14· Q.· · Let's go off and come back at, like, 4:51.
     15· · · · · · · · THE VIDEOGRAPHER:· The time is for 4:47.
     16· · · · · · We're off the record.
     17· · · · · ·(Recess from 4:47 p.m. to 4:52 p.m.)
     18· · · · · · · · THE VIDEOGRAPHER:· The time is 4:52.· We
     19· · · · · · are now on the record.
     20· Q.· · Okay.· Ms. Tull, I have a little gap in my
     21· notes.· You mentioned that Gabbi found the note and
     22· then somehow your letter got to Dasha Nichols, who you
     23· think got it to either The Oprah Show or reported it
     24· to authorities.· And I'm just not clear on that.· Can
     25· you talk about that for me?




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Case 5:17-cv-05089-TLB
          JILL DILLARD Document 139-13
                       vs CITY OF       Filed 10/06/21 Page 58 of 67 PageIDConfidential
                                  SPRINGDALE                               #: 1266
          TULL, KAELEIGH on 09/29/2021                                              58

     ·1· · · · · · · · MR. BLEDSOE:· Object to the form.
     ·2· A.· · I don't think Dasha actually gave it to anyone.
     ·3· As far as I know, the Renos just showed it to her, and
     ·4· they kept it.· And they say, when I asked for it back,
     ·5· they said that they had burned it.· But I know that
     ·6· Dasha read it.
     ·7· · · · · · · · THE WITNESS:· Thank you.
     ·8· Q.· · That's a good husband.
     ·9· A.· · Yeah.· He stayed home from work today for me.
     10· That's one of the reasons why we had moved it, so that
     11· he could come and help take care of them.
     12· Q.· · So you know that Dasha read it.· And then how do
     13· you know that she reported to Oprah or to DHS or both?
     14· A.· · She called my parents and told them that she was
     15· going to do that.
     16· Q.· · All right.· Well, that's all the questions I
     17· have.· I want to thank you again for your time.· The
     18· other attorneys may have questions for you.· But at
     19· this time, I don't have any others.· And thank you
     20· very much.
     21· A.· · You're welcome.
     22· · · · · · · · · · · · EXAMINATION
     23· BY MR. OWENS:
     24· Q.· · Ms. Tull, good afternoon.· My name is
     25· Jason Owens.· I've got just a few questions for you.




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Case 5:17-cv-05089-TLB
          JILL DILLARD Document 139-13
                       vs CITY OF       Filed 10/06/21 Page 59 of 67 PageIDConfidential
                                  SPRINGDALE                               #: 1267
          TULL, KAELEIGH on 09/29/2021                                              59

     ·1· I'll try to be quick.· Okay?· Can you hear me okay?
     ·2· A.· · I can.
     ·3· Q.· · Okay.· I'm on my laptop and I don't have great
     ·4· audio, but I'll try to speak up.· Okay?· You had
     ·5· mentioned in your testimony with Mr. Kieklak that at
     ·6· first, several folks knew about this after -- after it
     ·7· came to light in the Duggar house.· And then later on,
     ·8· whether as a function of the letter that was left in
     ·9· the book or the report to DHS or otherwise that
     10· basically everybody in the church knew.· Do you
     11· remember that?
     12· A.· · Yes.
     13· · · · · · · · MR. BLEDSOE:· Object to the form.
     14· Q.· · Okay.· How many folks were attending the church
     15· at that time?
     16· A.· · I'm not -- I'm not certain.· I don't remember
     17· counting or keeping track.· But I do remember someone
     18· mentioning to me at one point that it was over 100.
     19· That would be including children though.
     20· Q.· · Sure.
     21· A.· · Not all adults.
     22· Q.· · And -- and your recollection was that most of
     23· the folks who knew were adults, right?
     24· A.· · Yes.
     25· Q.· · Certainly at that point, you knew that dozens of




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Case 5:17-cv-05089-TLB
          JILL DILLARD Document 139-13
                       vs CITY OF       Filed 10/06/21 Page 60 of 67 PageIDConfidential
                                  SPRINGDALE                               #: 1268
          TULL, KAELEIGH on 09/29/2021                                              60

     ·1· adults in the church knew about the molestations,
     ·2· right?
     ·3· A.· · Yes.
     ·4· · · · · · · · MR. BLEDSOE:· Object to the form.
     ·5· Q.· · Okay.· And you also knew at that time that some
     ·6· of the families who found out immediately or shortly
     ·7· thereafter left the church, right?
     ·8· A.· · That's correct.
     ·9· Q.· · Okay.· You mentioned that you learned about the
     10· molestations, at least in the first instance, from
     11· your parents; is that right?
     12· A.· · That's right.
     13· · · · · · · · MR. BLEDSOE:· Object to the form.
     14· Q.· · And I think you testified that it wasn't just
     15· the three of you in the conversation; that some of
     16· your brothers and sisters were there as well?
     17· A.· · For some of it, yeah.
     18· Q.· · Okay.· Would that have been all of your brothers
     19· and sisters or just a few of them, maybe the older
     20· ones, or how did that work?
     21· · · · · · · · MR. BLEDSOE:· Object to the form.
     22· A.· · I believe that -- there's an age gap in my
     23· family, and so there were younger ones and older ones.
     24· And I believe the younger ones were asleep.
     25· Q.· · Okay.




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Case 5:17-cv-05089-TLB
          JILL DILLARD Document 139-13
                       vs CITY OF       Filed 10/06/21 Page 61 of 67 PageIDConfidential
                                  SPRINGDALE                               #: 1269
          TULL, KAELEIGH on 09/29/2021                                              61

     ·1· A.· · They may have been asleep in the room.· I can't
     ·2· remember.· But I do know that me and my four -- my
     ·3· four -- me included in the four older siblings were
     ·4· there for at least part of the conversation.
     ·5· Q.· · Okay.
     ·6· A.· · My parents told me privately initially because
     ·7· of how it would affect me and then brought in my
     ·8· siblings.
     ·9· Q.· · Okay.
     10· A.· · Mostly to make them aware of safety issues and
     11· things like that.
     12· Q.· · Sure.· Sure.· And did your parents tell you how
     13· they found out?
     14· A.· · Yes.
     15· Q.· · What did they tell you?
     16· A.· · They told me that Jim Bob called my dad, and my
     17· dad went over to the Duggars' house.· And Jim Bob and
     18· Michelle and Josh were all there, and Jim Bob and Josh
     19· both -- I think Jim Bob made Josh confess to my dad,
     20· is what had happened.
     21· Q.· · Okay.· Over the years since all of this came to
     22· light, at least for you, how many conversations do you
     23· think you've had with the Duggar sisters about the
     24· molestations?
     25· · · · · · · · MR. BLEDSOE:· Object to the form.




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Case 5:17-cv-05089-TLB
          JILL DILLARD Document 139-13
                       vs CITY OF       Filed 10/06/21 Page 62 of 67 PageIDConfidential
                                  SPRINGDALE                               #: 1270
          TULL, KAELEIGH on 09/29/2021                                              62

     ·1· A.· · I've had one conversation.
     ·2· Q.· · And that was with who?
     ·3· A.· · With Jill.
     ·4· Q.· · Okay.· How -- you've mentioned that you
     ·5· journaled at this time.· How often would you journal
     ·6· from, say, 2003 to 2006?
     ·7· A.· · Almost daily.· Probably -- probably four or five
     ·8· times a week.
     ·9· Q.· · Okay.· Do you still have all those journals?
     10· A.· · I do.
     11· Q.· · And were they in -- different folks keep them
     12· different ways.· Were they, like, a spiral notebook,
     13· or what are these in?
     14· A.· · Most of them were in small, like, hardback-bound
     15· journals.
     16· Q.· · Sure.· Okay.· Do you recall, in 2000 -- May of
     17· 2015 when In Touch Weekly published an article or a
     18· series of articles about redacted police reports that
     19· were disclosed about these events?
     20· A.· · I remember that coming out, yes.
     21· Q.· · Okay.· Do you remember how you became aware of
     22· that?
     23· A.· · I believe -- I believe it was kind of a bunch of
     24· things in one day.· Beyond social media, I think I
     25· probably saw something come out and my mom called me




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Case 5:17-cv-05089-TLB
          JILL DILLARD Document 139-13
                       vs CITY OF       Filed 10/06/21 Page 63 of 67 PageIDConfidential
                                  SPRINGDALE                               #: 1271
          TULL, KAELEIGH on 09/29/2021                                              63

     ·1· the same -- same day, I believe.· But it was kind of
     ·2· like this big explosion of communication.
     ·3· Q.· · Right.· Did you talk -- did you talk with anyone
     ·4· from the Duggar family within the weeks or months
     ·5· after those reports came out?
     ·6· A.· · Yes.
     ·7· Q.· · What did you talk to them about?
     ·8· A.· · I mostly told them I was sorry and that I was
     ·9· praying for them, and they expressed their thanks and
     10· acknowledged that it was hard.· But that was -- that
     11· was about it at that time.· Most of our conversations
     12· have been more of our day-to-day lives and our
     13· children.
     14· · · · · · · · MR. OWENS:· Sure.· I think that's all I
     15· · · · · · have, Ms. Tull.· Thank you.
     16· · · · · · · · THE WITNESS:· You're welcome.
     17· · · · · · · · THE COURT REPORTER:· Mr. Bledsoe, do you
     18· · · · · · have any questions?
     19· · · · · · · · MR. BLEDSOE:· No.
     20· · · · · · · · THE COURT REPORTER:· Mr. Kieklak, do you
     21· · · · · · have anything further?· And you're muted.
     22· · · · · · · · MR. KIEKLAK:· Again, saying thank you to
     23· · · · · · the Tulls for their time.· And thank you.
     24· · · · · · · · THE VIDEOGRAPHER:· This concludes the
     25· · · · · · video deposition of Kaeleigh Tull.· The time
Case 5:17-cv-05089-TLB
          JILL DILLARD Document 139-13
                       vs CITY OF       Filed 10/06/21 Page 64 of 67 PageIDConfidential
                                  SPRINGDALE                               #: 1272
          TULL, KAELEIGH on 09/29/2021                                              64

     ·1· · · ·is 5:01.· We are now off the record.
     ·2· ·(The deposition was concluded at 5:01 p.m.)
     ·3· · · · · · · · · ·* * * * *
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Case 5:17-cv-05089-TLB
          JILL DILLARD Document 139-13
                       vs CITY OF       Filed 10/06/21 Page 65 of 67 PageIDConfidential
                                  SPRINGDALE                               #: 1273
          TULL, KAELEIGH on 09/29/2021                                              65

     ·1· · · · · · · · · REPORTER CERTIFICATION

     ·2· STATE OF ARKANSAS· · )

     ·3· COUNTY OF PULASKI· · )

     ·4· · · · · I, TAMMIE L. FOREMAN, Certified Court Reporter
     · · in and for the aforesaid county and state, do hereby
     ·5· certify to the following:

     ·6· · · · · 1)· ·The foregoing deposition was taken before
     · · me at the time and place stated in the foregoing
     ·7· styled cause with the appearances as noted;

     ·8·   · · · · 2)· Being a Certified Court Reporter, I then
     · ·   reported the deposition in Stenotype to the best of my
     ·9·   skill and ability, and the foregoing pages contain a
     · ·   full, true, and correct transcript of my said
     10·   Stenotype notes then and there taken;

     11· · · · · 3)· ·I am not in the employ of and am not
     · · related to any of the parties or their counsel, and I
     12· have no interest in the matter involved;

     13· · · · · 4)· Signature of the witness is not waived.

     14· · · · · IN WITNESS WHEREOF, I have hereunto set my
     · · hand and affixed my seal of office this 29th of
     15· September, 2021.

     16

     17·   ·   ·   ·   ·   ·   ·   ·   ·   _____________________________________
     · ·   ·   ·   ·   ·   ·   ·   ·   ·   TAMMIE L. FOREMAN, CCR, RPR, CRR
     18·   ·   ·   ·   ·   ·   ·   ·   ·   LS Certificate #305, State of Arkansas
     · ·   ·   ·   ·   ·   ·   ·   ·   ·   Arkansas Realtime Reporting
     19·   ·   ·   ·   ·   ·   ·   ·   ·   701 West 7th Street
     · ·   ·   ·   ·   ·   ·   ·   ·   ·   Little Rock, Arkansas
     20·   ·   ·   ·   ·   ·   ·   ·   ·   501-725-7963
     · ·   ·   ·   ·   ·   ·   ·   ·   ·   www.ArkansasRealtimeReporting.com
     21·   ·   ·   ·   ·   ·   ·   ·   ·   Tammie@ArkansasRealtimeReporting.com

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Case 5:17-cv-05089-TLB
          JILL DILLARD Document 139-13
                       vs CITY OF       Filed 10/06/21 Page 66 of 67 PageIDConfidential
                                  SPRINGDALE                               #: 1274
          TULL, KAELEIGH on 09/29/2021                                              66

     ·1· · · · · · · · · ·SIGNATURE OF WITNESS

     ·2· · ·I, KAELEIGH TULL, hereby certify that the above

     ·3· and foregoing deposition, is a full, true, correct,

     ·4· and complete transcript of the proceeding

     ·5· (Mark the appropriate box):

     ·6· (· )· ·had at the time of the taking of my deposition.

     ·7· OR

     ·8· (· )· ·subject to the notations on the attached Errata

     ·9· Sheet made by me or at my direction.

     10

     11·   ___________________________· · · · · · ____________
     · ·   KAELEIGH TULL· · · · · · · · · · · · · · · · ·Date
     12
     · ·   · · · · · ·*********************************
     13
     · ·   STATE OF ______________)
     14·   · · · · · · · · · · · ·) SS
     · ·   COUNTY OF _____________)
     15

     16
     · · SUBSCRIBED AND SWORN TO before me this ______ day of
     17
     · · ______________, 2021.
     18

     19
     · · My commission expires:
     20

     21· ______________________· · · ·_________________________
     · · (SEAL)· · · · · · · · · · · ·Notary Public
     22

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     24

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Case 5:17-cv-05089-TLB
          JILL DILLARD Document 139-13
                       vs CITY OF       Filed 10/06/21 Page 67 of 67 PageIDConfidential
                                  SPRINGDALE                               #: 1275
          TULL, KAELEIGH on 09/29/2021                                              67

     ·1· ERRATA SHEET FOR THE DEPOSITION OF KAELEIGH TULL

     ·2· Taken on September 29, 2021

     ·3· PAGE· LINE· · ·CORRECTION· · · · · ·REASON FOR CHANGE

     ·4· ____· ____· ________________________ _________________

     ·5· ____· ____· ________________________ _________________

     ·6· ____· ____· ________________________ _________________

     ·7· ____· ____· ________________________ _________________

     ·8· ____· ____· ________________________ _________________

     ·9· ____· ____· ________________________ _________________

     10· ____· ____· ________________________ _________________

     11· ____· ____· ________________________ _________________

     12· ____· ____· ________________________ _________________

     13· ____· ____· ________________________ _________________

     14· ____· ____· ________________________ _________________

     15· ____· ____· ________________________ _________________

     16· ____· ____· ________________________ _________________

     17· ____· ____· ________________________ _________________

     18· ____· ____· ________________________ _________________

     19· ____· ____· ________________________ _________________

     20· ____· ____· ________________________ _________________

     21· ____· ____· ________________________ _________________

     22
     · · I certify that I have read my deposition and request
     23· that the above changes be made.

     24
     · · ____________________________· · · · · · _____________
     25· KAELEIGH TULL· · · · · · · · · · · · · · · · ·Date
